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                        UNITED STATES DISTRICT COURT

                          DISTRICT OF RHODE ISLAND

  Mary Seguin

        v.                                       Case No. 13-cv-12-SJM-LM
                                                 Opinion No. 2014 DNH 092
  Textron, Inc., et al.1

                                   O R D E R

        Before the court are motions to dismiss the first amended

  complaints filed by all defendants who were served in either of

  these consolidated cases.       See Doc. Nos. 89, 91-93, in Seguin v.

  Textron, No. 13-cv—12-SJM (“Textron”); Doc. No. 46, in Seguin v.

  Suttell, No. 13-cv-095-JNL (“Suttell”)).2         Seguin has not filed a

       1     Defendants named in the First Amended Complaints in
  these consolidated cases are: Textron, Inc. (“Textron”); Adler,
  Pollock & Sheehan, P.C. (“AP&S”); Estate of Gilbert T. Rocha
  (“Estate”); McIntyre Tate, LLP (“McIntyre”); Lynch, Lynch &
  Friel, P.C.; Family Court guardian ad litem and Attorney Patricia
  A. Murray-Raposa; Dugan & Grady Law Assocs.; Providence Police
  Department Chief Hugh T. Clements, Jr.; Gero Meyersiek; Sophia
  Meyersiek a/k/a Sophia Karvunis; the Rhode Island Supreme Court,
  Family Court, Attorney General’s Office, and Child Support Office
  (“CSO”); Supreme Court Chief Justice Paul Suttell, Governor
  Lincoln D. Chafee, Health and Human Services Secretary Steven M.
  Constantino, CSO Director Sharon A. Santilli, CSO Attorney
  Priscilla Glucksman, and Family Court Chief Judge Haiganush
  Bedrosian; Family Court Associate Judges John E. McCann III,
  Stephen J. Capineri, and Michael B. Forte; Family Court mediator
  and guardian ad litem Lori Giarrusso; Attorney General Peter
  Kilmartin; former Family Court Judge Jeremiah Jeremiah; Family
  Court Judge Kathleen Voccola; and State Police Colonel Steven G.
  O’Donnell.
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       Documents filed originally in Seguin v. Suttell, No. 13-cv-
  095-JNL (“Suttell”), a matter that has been consolidated with the
  above-captioned action and statistically closed, are cited here
  as “Suttell Doc. No. __”; documents filed originally in the
  above-captioned case (“Textron”), are cited as “Textron Doc. No.
  ___.”
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  timely objection to any of those defendants’ motions to dismiss,

  and she has neither served, nor demonstrated good cause for

  failing to serve, any of the remaining defendants named in the

  First Amended Complaint in Suttell or the First Amended Complaint

  in Textron.

        For reasons stated below, this court grants each motion to

  dismiss.    The court also grants Seguin fourteen days to show

  cause why this action should not be dismissed without prejudice,

  under Fed. R. Civ. P. 4(m), as to the remaining defendants named

  in the First Amended Complaints in Textron and Suttell who were

  not served with those pleadings.3        See Textron Doc. No. 66 (First

  Am. Compl.); Suttell Doc. No. 25.



                                  Background

        These consolidated cases represent the third and fourth

  federal actions filed by plaintiff, Mary Seguin (“Seguin”), in

  the United States District Court for the District of Rhode

  Island, concerning Rhode Island Family Court litigation involving

  Seguin and Gero Meyersiek or Marc Seguin, the fathers of her two

  daughters (hereinafter “Family Court proceedings”).           Those Family

  Court proceedings, as well as other state court cases Seguin


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       In separate orders this date, the court has consolidated the
  cases, granted an unopposed motion to seal two unredacted
  filings, and, upon motion, issued an injunction restricting
  plaintiff’s ability to file certain actions in the United States
  District Court for the District of Rhode Island in the future.

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  filed to challenge orders in those proceedings, are described in

  Seguin v. Chafee, No. 12-cv-708-JD, 2012 WL 6553621, at *1-*3

  (D.R.I. Dec. 14, 2012).

        In the two prior federal cases filed by Seguin in the

  District of Rhode Island, Seguin v. Bedrosian, No. 12-cv-614-JD-

  LM (D.R.I.) (“Bedrosian”), and Seguin v. Chafee, No. 12-cv-708-JD

  (D.R.I.) (“Chafee”), Seguin asserted similar claims, alleging

  that various orders in the Family Court proceedings were

  fraudulent and interfered with her parental rights and right to

  travel.    She also claimed, among other things, that biased state

  court judges and others conspired to violate her rights; that the

  orders issued in those cases were retaliatory for misconduct

  reports Seguin filed, or manifested the judges’ discriminatory

  intent; and that she was deprived of due process of law in the

  state courts.    The relief sought in Chafee and Bedrosian included

  declaratory relief and orders enjoining the Family Court

  proceedings, as well as damages.         In December 2012 and January

  2013, the Chafee and Bedrosian courts dismissed all of Seguin’s

  claims upon finding that abstention was mandatory as to the

  claims for injunctive and declaratory relief under Younger v.

  Harris, 401 U.S. 37 (1971), and that, even if Younger did not

  apply, Seguin failed to state a claim upon which relief could be

  granted.    See Bedrosian, No. 12-cv-614-JD-LM, 2013 WL 367722, at

  *3 (D.R.I. Jan. 30, 2013), aff’d, No. 13-1242 (1st Cir. Nov. 1,


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  2013); Chafee, No. 12-cv-704-JD-LM, 2012 WL 6553621, at *7 (Dec.

  14, 2012), recons. denied, 2013 WL 124301 (D.R.I. Jan. 9, 2013),

  aff’d, No. 13-1241 (1st Cir. Nov. 1, 2013).

        Seguin asserts in the pleadings in these consolidated cases

  that judges in the Family Court proceedings issued child support

  orders and other rulings favorable to Gero Meyersiek that

  violated her rights.      She has further alleged that she and

  Meyersiek are former Textron employees, who were involved in a

  sexual relationship when they worked together.          Textron’s

  settlement agreements with Meyersiek and/or Seguin are cited by

  plaintiff in these cases, in connection with her allegations that

  child support orders in the Family Court proceedings manifest

  corruption and bias, and/or that Textron, Gero Meyersiek, and

  others participated in corrupt, conspiratorial, and fraudulent

  acts affecting her interests in those proceedings.           Seguin

  specifically highlights a Family Court order issued on a petition

  stating that Seguin’s mother does not speak English as proof of

  that court’s bias and discriminatory intent, and she claims that

  Textron and/or Gero Meyersiek conspired together with state court

  judges and others to deprive her of due process, in a manner she

  characterizes as fraudulent and corrupt.         She further alleges

  that various federal and state government officials have not

  adequately investigated or prosecuted her complaints.           Her

  assertions in all these respects are substantially similar to the


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  claims she asserted in Chafee and Bedrosian.          Seguin seeks

  damages, this court’s referral of defendants for criminal

  prosecutions, rescission of the Textron settlement agreement, and

  restitution.



                                  Discussion

  I.    Motion to Dismiss Standard

        In ruling on a motion to dismiss under Fed. R. Civ. P.

  12(b)(6), the court must consider whether the factual content in

  the complaint and inferences reasonably drawn therefrom, taken as

  true, state a facially plausible claim to relief.           Hernandez-

  Cuevas v. Taylor, 723 F.3d 91, 102-03 (1st Cir. 2013) (citing

  Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).          In doing so, the

  court disregards any legal conclusions in the complaint.

  Hernandez-Cuevas, 723 F.3d at 102-03.         The court is generally

  limited to considering “‘facts and documents that are part of or

  incorporated into the complaint,’” as well as “‘documents

  incorporated by reference in [the complaint], matters of public

  record, and other matters susceptible to judicial notice.’”

  Giragosian v. Ryan, 547 F.3d 59, 65 (1st Cir. 2008) (citations

  omitted).    As Seguin is proceeding pro se in this action, the

  court must construe her pleadings liberally.          See Erickson v.

  Pardus, 551 U.S. 89, 94 (2007).




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  II.   Suttell Amended Complaint

        The Suttell defendants served in this action (“State

  Defendants”) - Bedrosian, Capinieri, Chafee, Constantino, Forte,

  Giarrusso, Glucksman, Kilmartin, McCann, Santilli, and Suttell -

  contend that the claims Seguin has asserted against them in the

  operative complaint in Suttell (see First Am. Compl., Suttell

  Doc. No. 25) must be dismissed.        Those Suttell defendants argue

  that dismissal is required because plaintiff is simply

  relitigating claims rejected for failure to state a plausible

  claim in Chafee and Bedrosian.



        A.    Res Judicata

        “Under the federal law of claim preclusion,” or res

  judicata, “‘a final judgment on the merits of an action precludes

  the parties or their privies from relitigating claims that were

  raised or could have been raised in that action.’”           Hatch v.

  Trail King Indus., Inc., 699 F.3d 38, 45 (1st Cir. 2012)

  (citation omitted).     The elements of res judicata are:

        “(1) a final judgment on the merits in an earlier
        proceeding, (2) sufficient identicality between the
        causes of action asserted in the earlier and later
        suits, and (3) sufficient identicality between the
        parties in the two actions.”

  Id. (citations omitted).

        A corollary to the res judicata principle is the rule

  precluding a party from litigating in a new action a claim that


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  the court barred the plaintiff from adding to the old action.

  “‘It is well settled that denial of leave to amend constitutes

  res judicata on the merits of the claims which were the subject

  of the proposed amended pleading.’”        Id. (citation omitted).

        All of the defendants named in Suttell, save two (Meyersiek

  and Giarrusso), were also named in Bedrosian and/or Chafee, or

  were identified as defendants in proposed pleadings that Seguin

  was unable to file in those cases.        All of the claims asserted in

  the Suttell amended complaint were also asserted in the proposed

  “Third Amended Complaint” in Bedrosian, in the operative

  complaint in Chafee, and/or in the proposed Second Amended

  Complaint in Chafee.      The district court in Bedrosian found that

  Seguin’s proposed pleading failed to state any plausible claims

  for relief, see Bedrosian, Order (doc. no. 107), slip op. at 8

  (D.R.I. Jan. 9, 2013) (denying motion to amend, and specifically

  finding facially implausible “Seguin’s conclusory accusations

  that state judges engaged in a conspiracy and a RICO enterprise

  against her”); see also id., Order (doc. no. 111), slip op. at 7-

  8 (D.R.I. Jan. 30, 2013) (denying as futile plaintiff’s motion to

  amend complaint, and noting that Seguin’s proposed complaint

  amendment was very similar or identical to the complaint

  amendment denied on January 9, 2013).

        Similarly, the Chafee court found that neither the operative

  complaint in Chafee, nor the proposed second amended complaint in


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  that case, stated plausible claims.        See Chafee (doc. no. 52)

  (D.R.I. Dec. 12, 2012) (finding no plausible claim stated in

  “Seguin’s allegations against the defendants [which] suggest a

  vast conspiracy involving the Rhode Island Executive Office of

  Health and Human Services, the Rhode Island Child Support Office,

  the governor of Rhode Island, the Chief Justice of the Rhode

  Island Supreme Court, and numerous Family Court judges, with a

  goal of retaliating against Seguin for various reasons and

  fraudulently inflating her child support obligations to illegally

  receive federal funding pursuant to the Social Security Act”).

        The First Circuit affirmed the judgments in both cases.            See

  Bedrosian, No. 13-1242 (1st Cir. Nov. 1, 2013) (affirming

  dismissal of case “[e]ssentially for the reasons given by the

  district court” in orders issued on December 12, 2012, and

  January 30, 2013); Chafee, No. 13-1241 (1st Cir. Nov. 1, 2013)

  (affirming essentially for reasons given in district court orders

  dated December 14, 2012, and January 9, 2013).          Accordingly, res

  judicata bars Seguin from relitigating those claims here against

  the same defendants.



        B.    Collateral Estoppel

        Even if Seguin’s claims were not barred by res judicata,

  they are barred by collateral estoppel.

        Collateral estoppel, or issue preclusion, applies when:
        “(1) the issue sought to be precluded in the later

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        action is the same as that involved in the earlier
        action; (2) the issue was actually litigated; (3) the
        issue was determined by a valid and binding final
        judgment; and (4) the determination of the issue was
        essential to the judgment.”

  Latin Am. Music Co. v. Media Power Grp., 705 F.3d 34, 42 (1st

  Cir. 2013) (citation omitted).       “[T]he central question is

  whether a party has had a full and fair opportunity for judicial

  resolution of the same issue.”       Manganella v. Evanston Ins. Co.,

  700 F.3d 585, 591 (1st Cir. 2012) (citation and internal

  quotation marks omitted).

        Each of the requirements for collateral estoppel applies to

  the claims against the State Defendants in Suttell.           The claims

  at issue in Suttell are the same claims that the district court

  dismissed in Bedrosian and Chafee.        The First Circuit affirmed

  those dismissals, essentially for the reasons stated by the

  district court, after receipt of briefing that addressed issues

  including Seguin’s failure to state a plausible claim.4           Seguin

  had a full and fair opportunity to litigate whether she had


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       Although Younger abstention was cited as one of two bases
  for the dismissal in both Chafee and Bedrosian, the district
  court’s alternate ruling – that Seguin had failed to a state a
  plausible claim for relief – was briefed in the First Circuit,
  and is entitled to preclusive effect because the First Circuit,
  in affirming the dismissal, implicitly included both of those
  alternate rulings within the scope of its affirmance. See
  Urological Surgery Prof’l Ass’n v. William Mann Co., 764 F. Supp.
  2d 311, 321 (D.N.H. 2011) (if “the appellate court affirms both
  grounds of the holding, each ground receives preclusive effect”
  (internal quotation marks omitted) (citing Rutanen v. Baylis (In
  re Baylis), 217 F.3d 66, 71 (1st Cir. 2000))); see also 1
  Restatement (Second) Judgments § 27, cmt. o (1980).

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  stated plausible claims for relief in those cases.           Seguin is

  therefore collaterally estopped from relitigating the same

  deficient claims against any of the Bedrosian or Chafee

  defendants in Suttell.



        C.    Absolute Immunity

              1.    Judicial Immunity and Quasi-judicial Immunity

        Even if the claims as to the defendant judges were not

  barred by res judicata and/or collateral estoppel, the claims

  against those defendants are barred because they are absolutely

  immune from such claims.       Each of the judges named in the

  complaint is entitled to judicial immunity with respect to his or

  her judicial acts, providing the acts were not taken in “clear

  absence of all jurisdiction.”        See Cok v. Cosentino, 876 F.2d 1,

  3 (1st Cir. 1989).

        Giarrusso is entitled to the same scope of immunity with

  respect to her performance of delegated functions intimately

  related to the judicial process.          Id.   Nothing alleged in the

  Suttell amended complaint, when stripped of legal conclusions,

  suggests that Giarrusso or any judge named as a defendant engaged

  in conduct that would not be shielded by absolute judicial or

  quasi-judicial immunity.




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              2.    Prosecutorial Immunity

        Seguin’s assertions as to Attorney General Kilmartin in

  Suttell are that Kilmartin conspired with defendants, lied in

  documents filed in federal court, retaliated against her for

  filing reports with the United States Justice Department, and

  failed to investigate and prosecute public corruption and

  criminal activities.      Her allegations include matters rejected

  for failure to state a claim in the January 30, 2013, district

  court order in Bedrosian.       See Bedrosian, Order (doc. no. 111),

  slip op. at 6-7 (similar allegations as to Kilmartin failed to

  state plausible claim for relief).         Even if all of Seguin’s

  claims were not barred by the rejection of substantially similar

  claims in Bedrosian and/or Chafee, defendant Kilmartin is

  absolutely immune from the claims in this case arising out of his

  exercise of prosecutorial discretion or asserting that pleadings

  and motions filed in prior federal litigation were fraudulent.

  See Smith v. McCarthy, 349 F. App’x 851, 859 (4th Cir. 2009); see

  also Moore v. Schlesinger, 150 F. Supp. 2d 1308, 1313-14 (M.D.

  Fla. 2001) (defendant government attorneys are absolutely immune

  from suit asserting claims under Racketeer Influenced and Corrupt

  Organizations Act (“RICO”) and 42 U.S.C. §§ 1985, based on

  attorneys’ alleged wrongful conduct in defending federal

  government in civil lawsuit).




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        D.    Failure to State Claim

        Moreover, plaintiff has failed to state any claim in the

  Suttell First Amended Complaint (Suttell Doc. No. 25) upon which

  relief can be granted.       The complaint includes time-barred

  claims, arising from incidents occurring more than ten years ago.

  And stripped of legal conclusions about conspiracies,

  retaliation, fraud, theft, bribery, corruption, illegal conduct

  and policies, and agreements between defendants to accomplish

  illegal ends, Seguin’s remaining factual allegations fail to

  state plausible claims for relief under any of the authorities

  she has cited, including the Supremacy Clause, the Privileges and

  Immunities Clause, the Commerce Clause, the Necessary and Proper

  Clause, the Due Process and Equal Protection Clauses, the First

  and Ninth Amendments, the Fifth Amendment prohibition against the

  taking of private property without due process, various federal

  civil rights statutes, various federal criminal statutes, and

  civil RICO.     This court has examined the Textron agreements cited

  by Seguin to support her claims of fraud, kickbacks, and

  conspiracies, and finds that those agreements cannot be construed

  in the manner she alleges.       Accordingly, the State Defendants’

  motion to dismiss (Suttell Doc. No. 46) is granted, and all

  claims asserted in Suttell are dismissed as to those defendants.




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  III. Textron Amended Complaint

        A.    Estate of Rocha

        The only defendant served by Seguin in Textron sued for

  conduct undertaken in an official governmental capacity is

  deceased Family Court Judge Rocha’s estate.          All claims asserted

  in the Textron First Amended Complaint, Textron Doc. No. 66,

  against Judge Rocha’s estate are barred by the doctrine of

  absolute judicial immunity.       See Cok, 876 F.2d at 2 (judicial

  “immunity applies no matter how erroneous the act may have been,

  how injurious its consequences, how informal the proceeding, or

  how malicious the motive”).       Even if the relevant claims were not

  barred by absolute judicial immunity, for reasons stated in the

  Estate’s motion to dismiss, see Textron Doc. No. 91, all claims

  asserted against the Estate are time-barred.          The motion to

  dismiss filed by the Estate is therefore granted.



        B.    McIntyre, Textron, and AP&S

        All claims asserted against the remaining, served defendants

  in Textron - McIntyre, Textron, and AP&S - are dismissed for the

  reasons set forth below, which are explained more fully in the

  motions to dismiss filed by those defendants (see Textron Doc.

  Nos. 89, 92, 93):      Seguin’s claims are generally time-barred;

  they generally fail to state plausible claims for relief when

  stripped of legal conclusions; and, to the extent claims are


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  asserted against Textron or AP&S, they are barred by the release

  in Seguin’s settlement agreement.         Additionally, Seguin has

  failed to allege facts showing that Textron, McIntyre, or AP&S

  may be deemed state actors, for the purposes of rendering them

  liable for Claims 4B and 5 in the Textron First Amended

  Complaint.5    Accordingly, the court grants the motions to dismiss

  filed by Textron, McIntyre, and AP&S.



  IV.   Defendants Not Served

        In the two cases consolidated in the above-captioned matter,

  plaintiff has named a number of defendants that she did not serve

  within 120 days of filing the complaint.          Federal Rule of Civil

  Procedure 4(m) provides, in pertinent part:

        If a defendant is not served within 120 days after the
        complaint is filed, the court -- on motion or on its
        own after notice to the plaintiff -- must dismiss the
        action without prejudice against that defendant or
        order that service be made within a specified time.
        But if the plaintiff shows good cause for the failure,
        the court must extend the time for service for an
        appropriate period.

  Fed. R. Civ. P. 4(m).      Unless plaintiff, within fourteen days of

  the date of this order, shows good cause for her failure to

  serve: Suttell defendants Clements, O’Donnell, and Gero

  Meyersiek; and Textron defendants Peter Kilmartin and the Office

  of the Rhode Island Attorney General, the Rhode Island Supreme


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       Two claims denominated as “Count IV” in the Textron amended
  complaint are referred to here as “Count 4A” and “Count 4B.”

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  Court, Priscilla Glucksman, the Rhode Island Child Support

  Office, the Rhode Island Family Court, Dugan & Grady Law

  Associates, former Family Court Judge Jeremiah, Lynch Lynch &

  Friel P.C., Gero Meyersiek, Sophia Meyersiek a/k/a Sophia

  Karvunis, Patricia Murray-Raposa, and Family Court Judge Voccola,

  all claims against those defendants will be dismissed without

  prejudice.



                                   Conclusion

        For the foregoing reasons, this court GRANTS the motions to

  dismiss in Textron (see Textron Doc. Nos. 89, 91-93), and in

  Suttell (Suttell Doc. No. 46).        All claims asserted against:

  Textron defendants the Estate, AP&S, McIntyre, and Textron; and

  against Suttell defendants Bedrosian, Capinieri, Chafee,

  Constantino, Forte, Giarrusso, Glucksman, Kilmartin, McCann,

  Santilli, and Suttell, are dismissed with prejudice.

        The court grants Seguin fourteen days from the date of this

  order to show good cause for her failure to serve each remaining

  defendant in Suttell and Textron.         If Seguin fails to show cause

  as required, all claims asserted against those defendants will be

  dismissed without prejudice, the case will be closed, and

  judgment will be entered.




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            SO ORDERED.


                                      ____________________________
                                      Steven J. McAuliffe
                                      United States District Judge

  April 25, 2014

  cc:       Mary Seguin, pro se
            Rebecca T. Partington, Esq.
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  SJM:nmd




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